 

Case: 1:16-Cv-02843 Document #: 1 Filed: 03/03/16 Page 1 of 10 Page|D #:1

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UNITED STATES DISTRlCT COURT
NORTHERN DISTRICT OF ILLINOIS

 

 

 

 

 

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/ 3-“5~` )<a
' G.BRUTON
(Enter above the full name _ m tr
ofthe plaintiff or plaintiffs in M'<‘u`§’ D'Smm couR“
this action)
vs. Case No:
_ \_g~ xi \ _ ('l`o be supplied by the Clerk of this Court)
C._ t\ \/ @» v amc/aec
`, z 4 - 3 16-Cv-2843
QSY'“C'©‘C?? C/ Q(/ \ @C”C“ Judge Rebecca R. Pa||meyer '

 

<q ¢\/\//c~ H:T<§ PC) \ tC § , g§gistrate Judge Jeffrey Co|e

 

 

 

(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

CHECK ONE ONLY:

COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER T 0 "INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRUCTIONS CAREFULLY.

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I. Plaintiff(s):
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A. Name: /fi)/U/L/ :)/ C/ C>L- /l:ic@/
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B. Llst all allases: / [\J ("\L( k /U /‘u v /3( C C f
C.; "-x.- .Prison'er identification number: 10 ii LL U 1~-\ z C» .,§ 0 §§
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D.. Place of present confinement & UC~> i< C OV\~'/\" \ >] § § § \
E. Address: /)/~ b O w C><'_`> . C_ a l f \:<;)P\ /\.l \{ §§

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.)

II. Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space
for two additional defendants is provided in B and C.)

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A. Defendant: §-% :~`\/\' a \3§,.§)\ o> Q \` L` KC- b P\ ~_\>(,' &M»`»\, Q(:i:';i
7 »~ l ,… .. *\ :\ ,_"T /' "`
Title: ‘/ `.Sv`\,~"g;> \`\:T@\ C/ \“'E \ CLX/ §
Place of Employment: QYL‘\ C il\<'§{ (f FQ \; <: L` <: f \ y

B. Defendant:

 

Title:

 

Place of Employment:

 

C. Defendant:

 

Title:

 

Place of Employment:

 

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

2 Revised 9/2007

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III. List ALL lawsuits you (and your co-plaintiffs, ifaoy) have filed m any state or federal
court in the United States: .

A. Name of case and docket number: //C/} W:/':

B. Approximate date of filing lawsuit: /O /l/ 5 v

. if * v j f
C. List all plaintiffs (if you had co-plaintiffs), including any aliases: ___ALL/__\/ V

 

 

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D. List all defendants:

 

 

 

 

 

 

E. Court m which the lawsuit was filed (1f federal court, name the district; if state oourt,
name the county): ` 4 l v ,, /
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F. Name of judge to whom case was assigned:
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G. Basic claim made l ,» i A i i
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H. Disposition of this case (for examples Was the case dismissed? Waji/ta)pcaled?

_`

ls it still pending?):
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l. Approximate date of disposition:

IF YOU HAVE FILED NlORE THAN ONE LAWSUIT, THEN YOU MUSTDESCR[BE THE
ADDlTIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME

FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREV!OUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,

AND FAILURE TO DO SO MAY RESULT IN DISM]SSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LlST ALL CASES THEY HAVE FILED.

3 Revis¢d 9/2007

 

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IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant' 1s
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim' 111 a separate paragraph (Use as much space as you need. Attach extra sheets

if necessary. )

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V. Relief:

State briefly exactly What you Want the court to do for you Make no legal arguments Cite
no cases or statutes.

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VI. The plaintiff demands that the case be tried by a jury. E<ES m NO

.CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. l understand that if this certification is not correct, I may be
subject to sanctions by the Court.

signed this il § day Of,§/§]O/,zo /¢5

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7 (Sign_ature of nlé¥ntiff or plaintiffs)/

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